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                   IN THE UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF MONTANA
                              BUTTE DIVISION


 UNITED STATES OF AMERICA,                               CR 20–18–BU–DLC

                       Plaintiff,

           vs.                                                 ORDER

 DILLON RAE BYERS,

                       Defendant.


      Due to the recent COVID-19 outbreak at Crossroads Correctional Center in

Shelby, Montana, the Court has reset the upcoming suppression hearing to be held

via video conference. The attorneys may appear in person at the Russell Smith

Courthouse in Missoula, Montana.

      The Court has been advised that Crossroads Correctional Center will provide

a room for Defendant Dillon Rae Byers to attend the hearing by video conference

for up to two hours. Accordingly, the parties shall introduce their evidence and

make arguments within that timeframe.

      Finally, the parties shall ensure that all witnesses testifying remotely be

provided with a copy of all exhibits relevant to their testimony in advance of the

hearing.
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      IT IS ORDERED that the hearing set for Thursday, October 15, 2020 is

VACATED and RESET via video conference on Thursday, October 15, 2020 at

9:30 a.m. If the Defendant objects, he shall file a motion at his earliest

convenience.

      DATED this 2nd day of October, 2020.
